        Case 1:22-cr-00007-LKG Document 169 Filed 01/17/23 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


                                            )
 UNITED STATES OF AMERICA,                  )
                                            )
 v.                                         )
                                            )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                          )
                                            )       Dated: January 17, 2023
        Defendant.                          )
                                            )

                                          ORDER
       On January 10, 2023, the Court entered an order denying defendant’s motions to seal
(ECF No. 164). In light of the foregoing, the Court DIRECTS the Clerk of the Court to
UNSEAL ECF Nos. 159 and 162.

       IT IS SO ORDERED.



                                                s/ Lydia Kay Griggsby
                                                LYDIA KAY GRIGGSBY
                                                United States District Judge
